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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-375 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   GREGORY MARTIN,                                     DATE: March 5, 2015
     MICHAEL TAYLOR, JR.,                                TIME: 9:30 a.m.
15   ANDRE WALTERS                                       COURT: Hon. Troy L. Nunley
16                                Defendants.
17

18                                               STIPULATION

19         1.       By previous order, this matter was set for status on March 5, 2015.

20         2.       By this stipulation, defendants now move to continue the status conference until April 16,

21 2015, at 9:30 a.m., and to exclude time between March 5, 2015, and April 16, 2015, under Local Code

22 T4.

23         3.       The parties agree and stipulate, and request that the Court find the following:

24                  a)     The government has represented that the discovery associated with this case

25         includes investigative reports and related documents, evidence seized pursuant to search

26         warrants, and business records from the California Employment Development Department. All

27         of this discovery has been either produced directly to counsel and/or made available for

28         inspection and copying.


      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
      ORDER
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 1                   b)     Counsel for defendants desire additional time to investigate the allegations in the

 2          indictment in light of recent plea negotiations. Specifically, counsel for the government

 3          anticipates making written plea offers to each defendant within the next day. Counsel requests

 4          additional time to review those offers with their clients and assess the appropriate disposition of

 5          the case. Each of the defendants is located in southern California, which imposes logistical

 6          concerns on counsel to arrange for appropriate consultation and scheduling and necessitates

 7          additional time to assess the plea offers.

 8                   c)     Counsel for defendants believe that failure to grant the above-requested

 9          continuance would deny counsel the reasonable time necessary for effective preparation, taking

10          into account the exercise of due diligence.

11                   d)     The government does not object to the continuance.

12                   e)     Based on the above-stated findings, the ends of justice served by continuing the

13          case as requested outweigh the interest of the public and the defendant in a trial within the

14          original date prescribed by the Speedy Trial Act.

15                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16          et seq., within which trial must commence, the time period of March 5, 2015 to April 16, 2015,

17          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

18          because it results from a continuance granted by the Court at defendants’ request on the basis of

19          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

20          of the public and the defendant in a speedy trial.

21

22          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

23 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

24 must commence.

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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND       2
      ORDER
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 1         IT IS SO STIPULATED.

 2
     Dated: March 3, 2015                                  BENJAMIN B. WAGNER
 3                                                         United States Attorney
 4
                                                           /s/ JARED C. DOLAN
 5                                                         JARED C. DOLAN
                                                           Assistant United States Attorney
 6

 7

 8 Dated: March 3, 2015                                    /s/ Chris Cosca
                                                           CHRIS COSCA
 9
                                                           Counsel for Defendant
10                                                         GREGORY MARTIN

11
     Dated: March 3, 2015                                  /s/ Tim Warriner
12                                                         TIMOTHY WARRINER
                                                           Counsel for Defendant
13                                                         MICHAEL TAYLOR, JR.
14

15 Dated: March 3, 2015                                    /s/ Michael Chastaine
                                                           MICHAEL CHASTAINE
16                                                         Counsel for Defendant
                                                           ANDRE WALTERS
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19
                                            FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED this 4th day of March, 2015.
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                                                               Troy L. Nunley
25                                                             United States District Judge
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   3
      ORDER
